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                     UNITED STATES DISTRICT COURT FOR
                    THE WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

SHERYL CAMPBELL, Individually,
and as Personal Representative of the
Estate of MARTHA DERRICK,

        Plaintiff,

                v.                                         Case No.: 22-cv-341

SYNGENTA CROP PROTECTION, LLC.;
SYNGENTA AG; and
CHEVRON U.S.A., INC.,

      Defendant(s).
______________________________________________________________________________

                                              COMPLAINT


        NOW COMES THE PLAINTIFF, Sheryl Campbell, Individually, and as Personal

Representative of the Estate of Martha Derrick, by her attorney, A. Layne Stackhouse of Shrader

& Associates, LLP, and hereby states the following as her Complaint for damages against

Defendants Syngenta Crop Protection, LLC; Syngenta AG; and Chevron U.S.A., Inc., and alleges:

                                     SUMMARY OF THE CASE

         1.     Paraquat is a synthetic chemical compound1 that since the mid-1960s has been

developed, registered, manufactured, distributed, sold for use, and used as an active ingredient in

herbicide products (“paraquat”) developed, registered, formulated, distributed, and sold for use in

the United States, including the State of Wisconsin.

        2.      Defendants are companies and successors-in-interest to companies that

manufactured, distributed, and sold paraquat for use in Wisconsin, acted in concert with others who


1
 Paraquat dichloride (EPA Pesticide Chemical Code 061601) or paraquat methosulfate (EPA Pesticide
Chemical Code 061602).

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manufactured, distributed, and sold paraquat for use in Wisconsin, sold and used paraquat in

Wisconsin, or owned property in Wisconsin where paraquat was used.

           3.       Plaintiff brings this suit against Defendants to recover damages for personal injuries

and wrongful death resulting from Decedent Martha Derrick’s exposure to Paraquat over the

course of many years in Wisconsin.

                                                     PARTIES

           A.       Plaintiff

           4.       Plaintiff Sheryl Campbell is a citizen and resident of the State of Minnesota.

Plaintiff is the daughter of Decedent Martha Derrick, who suffered from Parkinson’s disease

(“PD”) caused by exposure to paraquat within the State of Wisconsin.

           5.       Decedent Martha Derrick 2 succumbed to her illness and passed away on July 11,

2019. Prior to her death, Decedent Martha Derrick was a citizen and resident of the State of

Wisconsin.

           6.       Decedent Martha Derrick appointed Sheryl Campbell as Personal Representative

of her Estate.

           B.       Defendants

           7.         Defendant Syngenta Crop Protection, LLC (“SCPLLC”) is a Delaware limited

liability company with its principal place of business in at 410 South Swing Road, Greensboro,

North Carolina 27409-2012. SCPLLC is a subsidiary of Syngenta Seeds.

           8.       SCPLLC advertises, promotes, markets, sells, and distributes Paraquat and other

herbicides and pesticides to distributors, dealers, applicators, and farmers, including in the State

of Wisconsin.


2
    References to “Plaintiff” shall mean Decedent Martha Derrick.

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       9.      Defendant Syngenta AG (“SAG”) is a corporation organized and existing under the

laws of Switzerland with its principal place of business at Schwarzwaldallee 215, 4058 Basel-

Stadt, Switzerland. SAG was formed in 2000 as a result of the merger of Novartis Agribusiness

and Zeneca Agrochemicals. SAG was a publicly traded company on the Swiss stock exchange;

American Depositary Receipts for SAG were traded on the New York Stock Exchange until it was

acquired by ChemChina, a Chinese state-owned entity, in 2017. It has since been de-listed. On

information and belief, SAG continues to operate as a separate unit of ChemChina. SAG wholly

owns, through its ownership of Syngenta Seeds, SCPLLC.

       10.     SAG represents itself as a global company. According to Syngenta’s website,

SAG’s Board of Directors “has full and effective control of the company and holds ultimate

responsibility for the company strategy.”

       11.     One or more members of SAG’s Board of Directors or the Executive Committee

established by the Board of Directors also serve as member(s) of the Board of Directors of

SCPLLC and/or Syngenta Seeds.

       12.     SAG’s Executive Committee formulates and coordinates the global strategy for

Syngenta businesses, and maintains central corporate policies requiring Syngenta subsidiaries,

including SCPLLC, to operate under the general guidance of the Syngenta group control.

       13.     Employees of the Syngenta group as a whole maintain reporting relationships that

are not defined by legal, corporate relationships, but in fact cross those corporate lines.

       14.     SCPLLC is subject to additional oversight that requires it to seek approval for

certain decisions from higher levels within the functional reporting structure -- including, in some

instances, Syngenta AG. SCPLLC’s appointments of senior management personnel also may

require, in some instances, approval from individuals or governing bodies that are higher than



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SCPLLC’s board of directors.

       15.       Also, Syngenta AG maintains a central global finance function that governs

SCPLLC, which requires SCPLLC to function under the Syngenta AG umbrella and not

independently.

       16.       In addition, SCPLLC regularly refers to itself as “Syngenta,” with no further

description.

       17.         Chevron U.S.A., Inc. (“CUSA”) is a Pennsylvania corporation with its principal

place of business in San Ramon, California.

                                 JURISDICTION AND VENUE

       18.       This Court has personal jurisdiction over SCPLLC because SCPLLC transacts

business in the Western District Wisconsin and is a corporation doing business within the Western

District of Wisconsin. SCPLLC knows that its Paraquat products are and were sold throughout the

State of Wisconsin. In addition, SCPLLC maintains sufficient contacts with the State of Wisconsin

such that this Court’s exercise of personal jurisdiction over it does not offend traditional notions

of fair play and substantial justice. Specific to this case, SCPLLC engaged in the business of

developing, manufacturing, testing, packaging, marketing, distributing, and labeling pesticides

containing Paraquat in Wisconsin, and making a lawsuit by a person injured by Paraquat in

Wisconsin foreseeable. SCPLLC purposefully availed itself of the privilege of conducting

activities within this District, thus invoking the benefits and protections of its laws.

       19.       This Court has personal jurisdiction over SAG because, for the reasons alleged

above, the jurisdictional contacts of SCPLLC in this state are attributable to SAG because of the

unusually high degree of control SAG exercises over these subsidiaries.               In addition, on

information and belief, SAG and SCPLLC acted in concert under agreements or other



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arrangements to act in a collective manner and/or as joint venturers regarding the actions and

events made the subject of this Complaint. SAG and SCPLLC are therefore jointly and severally

liable for the acts for which the Plaintiff complains.

       20.     In 2011, the U.S. District Court for the Southern District of Illinois held that SAG’s

unusually high degree of control made Syngenta Crop Protection the agent or alter ego of SAG

and therefore subjected SAG to jurisdiction in the State of Illinois. See City of Greenville, Ill. v.

Syngenta Crop Prot., Inc., 830 F. Supp. 2d 550 (S.D. Ill. 2011).

       21.     This Court has personal jurisdiction over CUSA because CUSA advertises and sells

goods, specifically pesticides containing Paraquat, throughout this District of Wisconsin. It derived

substantial revenue from goods and products used in this District. It expected its acts to have

consequences within the State of Wisconsin, including the foreseeable possibility of a lawsuit by

a person injured by Paraquat, and derived substantial revenue from interstate commerce. CUSA

purposefully availed itself of the privilege of conducting activities within the State Wisconsin, thus

invoking the benefits and protections of its laws.

       22.     Venue is proper in the WESTERN DISTRICT OF WISCONSIN under 28 U.S.C.

§ 1391 because Defendants conduct business in this District, are subject to jurisdiction in this

District, and have sold, marketed, and/or distributed Paraquat products within this District at all

times relevant to this suit, because a substantial part of the acts or occurrences giving rise to this

suit occurred within this District.

       23.     The amount in controversy between Plaintiffs and Defendants exceeds $75,000.00,

exclusive of interest and cost.

             TOLLING OF APPLICABLE STATUE OF LIMITATIONS/REPOSE

   A. DISCOVERY RULE TOLLING



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        24.     Plaintiff did not know and had no way of knowing about the risk of serious illness

associated with exposure to Paraquat until sometime after February 2022.

        25.     Within the time period of any applicable statutes of limitations, Plaintiff could not

have discovered, through the exercise of reasonable diligence that exposure to Paraquat is injurious

to human health.

        26.     Plaintiff did not discover and did not know the facts that would cause a reasonable

person to suspect the risks associated with exposure to Paraquat; nor would a reasonable and

diligent investigation by Plaintiff have disclosed that Paraquat would cause or had caused

Plaintiff’s injuries.

        27.     For these reasons, all applicable statutes of limitations have been tolled by operation

of the discovery rule with respect to Plaintiff’s claims.

    B. FRAUDULENT CONCEALMENT TOLLING

        28.     All applicable statutes of limitations have also been tolled by Defendants’ knowing

and active fraudulent concealment and denial of the facts alleged herein throughout the time period

relevant to this action.

        29.     Instead of disclosing critical safety information about Paraquat, Defendants

consistently and falsely represented the safety of Paraquat and those false representations

prevented Plaintiff from discovering this claim.

    C. ESTOPPEL

        30.     Defendants were under a continuous duty to disclose to consumers, users, and other

persons coming into contact with its products, including Plaintiff, accurate safety information

concerning its products and the risks associated with the use of and/or exposure to Paraquat.




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        31.        Instead, Defendants knowingly, affirmatively, and actively concealed safety

information concerning Paraquat and the serious risks associated with the use of and/or exposure

to its products.

        32.        Based on the foregoing, Defendants are estopped from relying on any statutes of

limitations in defense of this action.

    D. LATENT DISEASE

        33.        Decedent Martha Derrick suffered from Parkinson’s Disease, a latent disease,

which forms the basis of this action. Decedent Martha Derrick subsequently died from Parkinson

’s disease and, therefore, Sheryl Campbell, individually and on behalf of the Estate of Martha

Derrick and all beneficiaries, additionally brings wrongful death and survival claims.

                                    FACTUAL ALLEGATIONS

    A. DEFENDANT SCPLLC AND SAG

        34.        In 1926, four British chemical companies merged to create the British company

that then was known as Imperial Chemical Industries Ltd. and ultimately was known as Imperial

Chemical Industries PLC (“ICI”).

        35.        In or about 1971, ICI created or acquired a wholly owned U.S. subsidiary organized

under the laws of the State of Delaware, which at various times was known as Atlas Chemical

Industries Inc., ICI North America Inc., ICI America Inc., and ICI United States Inc., and

ultimately was known as ICI Americas Inc. (collectively “ICI Americas”).

        36.        In or about 1992, ICI merged its pharmaceuticals, agrochemicals, and specialty

chemicals businesses, including the agrochemicals business it had operated at one time through a

wholly owned British subsidiary known as Plant Protection Ltd. and later as a division within ICI,

into a wholly owned British subsidiary known as ICI Bioscience Ltd.



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       37.      In 1993, ICI demerged its pharmaceuticals, agrochemicals, and specialty chemicals

businesses, from which it created the Zeneca Group, with the British company Zeneca Group PLC

as its ultimate parent company.

       38.      As a result of ICI’s demerger and creation of the Zeneca Group, ICI Bioscience Ltd.

was demerged from ICI and merged into, renamed, or continued its business under the same or

similar ownership and management as Zeneca Ltd., a wholly owned British subsidiary of Zeneca

Group PLC.

       39.      Before ICI’s demerger and creation of the Zeneca Group, ICI had a Central

Toxicology Laboratory that performed and hired others to perform health and safety studies that

were submitted to the U.S. Department of Agriculture (“USDA”) and the U.S. Environmental

Protection Agency (“EPA”) to secure and maintain the registration of paraquat and other pesticides

for use in the United States.

       40.      As a result of ICI’s demerger and creation of the Zeneca Group, ICI’s Central

Toxicology Laboratory became Zeneca Ltd.’s Central Toxicology Laboratory.

       41.      After ICI’s demerger and creation of the Zeneca Group, Zeneca Ltd.’s Central

Toxicology Laboratory continued to perform and hire others to perform health and safety studies

that were submitted to EPA to secure and maintain the registration of paraquat and other pesticides

for use in the United States.

       42.      As a result of ICI’s demerger and creation of the Zeneca Group, ICI Americas was

demerged from ICI and merged into, renamed, or continued its business under the same or similar

ownership and management as Zeneca, Inc. (“Zeneca”), a wholly owned subsidiary of Zeneca

Group PLC organized under the laws of the State of Delaware.

       43.      In 1996, the Swiss pharmaceutical and chemical companies Ciba-Geigy Ltd. and



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Sandoz AG merged to create the Novartis Group, with the Swiss company Novartis AG as the

ultimate parent company.

       44.     As a result of the merger that created the Novartis Group, Ciba-Geigy Corporation,

a wholly owned subsidiary of Ciba-Geigy Ltd. organized under the laws of the State of New York,

was merged into or continued its business under the same or similar ownership and management

as Novartis Crop Protection, Inc. (“NCPI”), a wholly owned subsidiary of Novartis AG organized

under the laws of the State of Delaware.

       45.     In 1999, the Swedish pharmaceutical company Astra AB merged with Zeneca

Group PLC to create the British company AstraZeneca PLC, of which Zeneca Ltd. and Zeneca

were wholly owned subsidiaries.

       46.     In 2000, Novartis AG and AstraZeneca PLC spun off and merged the Novartis

Group’s crop protection and seeds businesses and AstraZeneca’s agrochemicals business to create

the Syngenta Group, a global group of companies focused solely on agribusiness, with Defendant

Syngenta AG (“SAG”) as the ultimate parent company.

       47.     As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, Zeneca Ltd. was merged into, renamed, or continued its business under the same

or similar ownership and management as Syngenta Ltd., a wholly owned British subsidiary of

SAG.

       48.     As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, Zeneca Ltd.’s Central Toxicology Laboratory became Syngenta Ltd.’s Central

Toxicology Laboratory.

       49.     Since the Novartis/AstraZeneca spinoff and merger that created the Syngenta

Group, Syngenta Ltd.’s Central Toxicology Laboratory has continued to perform and hire others



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to perform health and safety studies for submission to the EPA to secure and maintain the

registration of paraquat and other pesticides for use in the United States.

       50.      As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, NCPI and Zeneca were merged into and renamed, or continued to do their

business under the same or similar ownership and management, as Syngenta Crop Protection, Inc.

(“SCPI”), a wholly owned subsidiary of SAG organized under the laws of the State of Delaware.

       51.      In 2010, SCPI was converted into Defendant SCPLLC, a wholly owned subsidiary

of SAG organized and existing under the laws of the State of Delaware with its principal place of

business in Greensboro, North Carolina.

       52.      SAG is a successor in interest to the crop-protection business of its corporate

predecessor Novartis AG.

       53.      SAG is a successor in interest to the crop-protection business of its corporate

predecessor AstraZeneca PLC.

       54.      SAG is a successor in interest to the crop-protection business of its corporate

predecessor Zeneca Group PLC.

       55.      SAG is a successor in interest to the crop-protection business of its corporate

predecessor Imperial Chemical Industries PLC, previously known as Imperial Chemical Industries

Ltd.

       56.      SAG is a successor in interest to the crop-protection business of its corporate

predecessor ICI Bioscience Ltd.

       57.      SAG is a successor in interest to the crop-protection business of its corporate

predecessor Plant Protection Ltd.

       58.      SCPLLC is a successor in interest to the crop-protection business of its corporate


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predecessor SCPI.

       59.      SCPLLC is a successor in interest to the crop-protection business of its corporate

predecessor NCPI.

       60.      SCPLLC is a successor in interest to the crop-protection business of its corporate

predecessor Ciba-Geigy Corporation.

       61.      SCPLLC is a successor in interest to the crop-protection business of its corporate

predecessor Zeneca Inc.

       62.      SCPLLC is a successor by merger or continuation of business to its corporate

predecessor ICI Americas Inc., previously known as Atlas Chemical Industries Inc., ICI North

America Inc., ICI America Inc., and ICI United States Inc.

       63.      SCPLLC does substantial business in the State of Wisconsin, including the

following:

               a.      markets, advertises, distributes, sells, and delivers paraquat and
               other pesticides to distributors, dealers, applicators, and farmers in the State
               of Wisconsin;

               b.      secures and maintains the registration of paraquat and other
               pesticides with the EPA and the State of Wisconsin to enable itself and
               others to manufacture, distribute, sell, and use these products in the State of
               Wisconsin; and

               c.      performs, hires others to perform, and funds or otherwise sponsors
               or otherwise funds the testing of pesticides in the State of Wisconsin.

       64.      SAG is a foreign corporation organized and existing under the laws of Switzerland,

with its principal place of business in Basel, Switzerland.

       65.      SAG is a holding company that owns stock or other ownership interests, either

directly or indirectly, in other Syngenta Group companies, including SCPLLC.

       66.      SAG is a management holding company.


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       67.      Syngenta Crop Protection AG (“SCPAG”), a Swiss corporation with its principal

place of business in Basel, Switzerland, is one of SAG’s direct, wholly owned subsidiaries.

       68.      SCPAG employs the global operational managers of production, distribution, and

marketing for the Syngenta Group’s Crop Protection (“CP”) and Seeds Divisions.

       69.      The Syngenta Group’s CP and Seeds Divisions are the business units through which

SAG manages its CP and Seeds product lines.

       70.      The Syngenta Group’s CP and Seeds Divisions are not and have never been

corporations or other legal entities.

       71.      SCPAG directly and wholly owns Syngenta International AG (“SIAG”).

       72.      SIAG is the “nerve center” through which SAG manages the entire Syngenta Group.

       73.      SIAG employs the “Heads” of the Syngenta Group’s CP and Seeds Divisions.

       74.      SIAG also employs the “Heads” and senior staff of various global functions of the

Syngenta Group, including Human Resources, Corporate Affairs, Global Operations, Research and

Development, Legal and Taxes, and Finance.

       75.      Virtually all of the Syngenta Group’s global “Heads” and their senior staff are

housed in the same office space in Basel, Switzerland.

       76.      SAG is the indirect parent of SCPLLC through multiple layers of corporate

ownership:

               a.      SAG directly and wholly owns Syngenta Participations AG;

               b.      Syngenta Participations AG directly and wholly owns Seeds JV C.V.;

               c.      Seeds JV C.V. directly and wholly owns Syngenta Corporation;

               d.      Syngenta Corporation directly and wholly owns Syngenta Seeds, LLC;

               e.      Syngenta Seeds, LLC directly and wholly owns SCPLLC.



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       77.       Before SCPI was converted to SCPLLC, it was incorporated in Delaware, had its

principal place of business in North Carolina, and had its own board of directors.

       78.       SCPI’s sales accounted for more than 47% of the sales for the entire Syngenta

Group in 2019.

       79.       SAG has purposefully organized the Syngenta Group, including SCPLLC, in such

a way as to attempt to evade the authority of courts in jurisdictions in which it does substantial

business.

       80.       Although the formal legal structure of the Syngenta Group is designed to suggest

otherwise, SAG in fact exercises an unusually high degree of control over its country-specific

business units, including SCPLLC, through a “matrix management’’ system of functional reporting

to global “Product Heads” in charge of the Syngenta Group’s unincorporated Crop Protection and

Seeds Divisions, and to global “Functional Heads” in charge of human resources, corporate affairs,

global operations, research and development, legal and taxes, and finance.

       81.       The lines of authority and control within the Syngenta Group do not follow its

formal legal structure, but instead follow this global “functional” management structure.

       82.       SAG controls the actions of its far-flung subsidiaries, including SCPLLC, through

this global “functional” management structure.

       83.       SAG’s board of directors has established a Syngenta Executive Committee

(“SEC”), which is responsible for the active leadership and the operative management of the

Syngenta Group, including SPLLC.

       84.       The SEC consists of the CEO and various global Heads, which currently are:

               a.      The Chief Executive Officer;

               b.      Group General Counsel;



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              c.        The President of Global Crop Protection;

              d.        The Chief Financial Officer;

              e.        The President of Global Seeds; and

              f.        The Head of Human Resources;

       85.     SIAG employs all of the members of the Executive Committee.

       86.     Global Syngenta Group corporate policies require SAG subsidiaries, including

SPLLC, to operate under the direction and control of the SEC and other unincorporated global

management teams.

       87.     SAG’s board of directors meets five to six times a year.

       88.     In contrast, SCPI’s board of directors rarely met, either in person or by telephone,

and met only a handful of times over the last decade before SCPI became SCPLLC.

       89.     Most, if not all, of the SCPI board’s formal actions, including selecting and

removing SCPI officers, were taken by unanimous written consent pursuant to directions from the

SEC or other Syngenta Group global or regional managers that were delivered via e-mail to SCPI

board members.

       90.     Since SCPI became SCPLLC, decisions that are normally made by the board or

managers of SCPLLC in fact continue to be directed by the SEC or other Syngenta Group global

or regional managers.

       91.     Similarly, Syngenta Seeds, Inc.’s board of directors appointed and removed SCPI

board members at the direction of the SEC or other Syngenta Group global or regional managers.

       92.     Since SCPI became SCPLLC, the appointment and removal of the manager(s) of

SCPLLC continues to be directed by the SEC or other Syngenta Group global or regional managers.

        93.    The management structure of the Syngenta Group’s CP Division, of which


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SCPLLC is a part, is not defined by legal, corporate relationships, but by functional reporting

relationships that disregard corporate boundaries.

       94.     Atop the CP Division is the CP Leadership Team (or another body with a different

name but substantially the same composition and functions), which includes the President of

Global Crop Protection, the CP region Heads (including SCPLLC President Vern Hawkins), and

various global corporate function Heads.

       95.     The CP Leadership Team meets bi-monthly to develop strategy for new products,

markets, and operational efficiencies and to monitor performance of the Syngenta Group’s

worldwide CP business.

       96.     Under the CP Leadership Team are regional leadership teams, including the North

America Regional Leadership Team (or another body with a different name but substantially the

same composition and functions), which oversees the Syngenta Croup’s U.S. and Canadian CP

business (and when previously known as the NAFTA Regional Leadership Team, also oversaw

the Syngenta Group’s Mexican CP business).

       97.     The North America Regional Leadership Team is chaired by SCPLLC’s president

and includes employees of SCPLLC and the Syngenta Group’s Canadian CP company (and when

previously known as the NAFTA Regional Leadership Team, also included employees of the

Syngenta Group’s Mexican CP company).

       98.     The Syngenta Group’s U.S. and Canadian CP companies, including SCPLLC,

report to the North America Regional Leadership Team, which reports the CP Leadership Team,

which reports to the SEC, which reports to SAG’s board of directors.

       99.     Some members of the North America Regional Leadership Team, including some

SCPLLC employees, report or have in the past reported not to their nominal superiors within the



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companies that employ them, but directly to the Syngenta Group’s global Heads.

       100.     Syngenta Group Global Heads that supervise SCPLLC employees participate and

have in the past participated in the performance reviews of these employees and in setting their

compensation.

       101.     The Syngenta Group’s functional reporting lines have resulted in employees of

companies, including SCPLLC, reporting to officers of remote parent companies, officers of

affiliates with no corporate relationship other than through SAG, or officers of subsidiary

companies.

       102.     SCPLLC performs its functions according to its role in the CP Division structure:

                a.     CP Division development projects are proposed at the global level,
                ranked and funded at the global level after input from functional entities such
                as the CP Leadership Team and the North America Regional Leadership
                Team, and given final approval by the SEC;

                b.     New CP products are developed by certain Syngenta Group
                companies or functional groups that manage and conduct research and
                development functions for the entire CP Division;

                c.     These products are then tested by other Syngenta Group companies,
                including SCPLLC, under the direction and supervision of the SEC, the CP
                Leadership Team, or other Syngenta Group global managers;

                d.      Syngenta Group companies, including SCPLLC, do not contract
                with or compensate each other for this testing;

                e.     Rather, the cost of such testing is included in the testing companies’
                operating budgets, which are established and approved by the Syngenta
                Group’s global product development managers and the SEC;

                f.              If a product shows promise based on this testing and the
                potential markets for the product, either global or regional leaders
                (depending on whether the target market is global or regional), not
                individual Syngenta Group companies such as SCPLLC, decide whether to
                sell the product;

                g.     Decisions to sell the product must be approved by the SEC; and



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               h.    The products that are sold all bear the same Syngenta trademark and
               logo.

       103.     SCPLLC is subject to additional oversight and control by Syngenta Group global

managers through a system of “reserved powers” established by SAG and applicable to all

Syngenta Group companies.

       104.     These “reserved powers” require Syngenta Croup companies to seek approval for

certain decisions from higher levels within the Syngenta Group’s functional reporting structure.

       105.     For example, although SAG permits Syngenta Croup companies to handle small

legal matters on their own, under the “reserved powers” system, SAG’s Board of Directors must

approve settlements of certain types of lawsuits against Syngenta Group companies, including

SCPLLC, if their value exceeds an amount specified in the “reserved powers.”

       106.     Similarly, the appointments of senior managers at SCPLLC must be approved by

higher levels than SCPLLC’s own management, board of directors, or even its direct legal owner.

       107.     Although SCPLLC takes the formal action necessary to appoint its own senior

managers, this formal action is in fact merely the rubber-stamping of decisions that have already

been made by the Syngenta Group’s global management.

       108.     Although SAG subsidiaries, including SCPLLC, pay lip service to legal formalities

that give the appearance of authority to act independently, in practice many of their acts are directed

or pre-approved by the Syngenta Group’s global management.

       109.     SAG and the global management of the Syngenta Group restrict the authority of

SCPLLC to act independently in areas including:

               a.      Product development;

               b.     Product testing (among other things, SAG and the global
               management of the Syngenta Group require SCPLLC to use Syngenta
               Ltd.’s Central Toxicology Laboratory to design, perform, or oversee

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              product safety testing that SCPLLC submits to the EPA in support of the
              registrations of paraquat and other pesticides);

              c.      Production;

              d.      Marketing;

              e.      Sales;

              f.      Human resources;

              g.      Communications and public affairs;

              h.      Corporate structure and ownership;

              i.      Asset sales and acquisitions;

              j.      Key appointments to boards, committees and management

              positions;

              k.      Compensation packages;

              l.      Training for high-level positions; and

              m.      Finance (including day-to-day cash management) and tax.

       110.    Under the Syngenta Group’s functional management system, global managers

initiate, and the global Head of Human Resources oversees, international assignments and

compensation of managers employed by one Syngenta subsidiary to do temporary work for another

Syngenta subsidiary in another country. This international assignment program aims, in part, to

improve Syngenta Group-wide succession planning by developing corporate talent to make

employees fit for higher positions within the global Syngenta Group of companies.

       111.    Under this international assignment program, at the instance of Syngenta Group

global managers, SCPLLC officers and employees have been “seconded” to work at other SAG

subsidiaries, and officers and employees of other Syngenta Group subsidiaries have been

“seconded” to work at SCPLLC.


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       112.     The Syngenta Group’s functional management system includes a central global

finance function—known as Syngenta Group Treasury—for the entire Syngenta Group.

       113.     The finances of all Syngenta Group companies are governed by a global treasury

policy that subordinates the financial interests of SAG’s subsidiaries, including SCPLLC, to the

interests of the Syngenta Group as a whole.

       114.     Under the Syngenta Group’s global treasury policy, Syngenta Group Treasury

controls daily cash sweeps from subsidiaries such as SCPLLC, holds the cash on account, and

lends it to other subsidiaries that need liquidity.

       115.     The Syngenta Group’s global treasury policy does not allow SAG subsidiaries such

as SCPLLC to seek or obtain financing from non-Syngenta entities without the approval of

Syngenta Group Treasury.

        116.    Syngenta Group Treasury also decides whether SCPLLC will issue a dividend or

distribution to its direct parent company, and how much that dividend will be.

       117.     SCPLLC’s board or management approves dividends and distributions mandated

by Syngenta Group Treasury without any meaningful deliberation.

       118.     SAG, through its agent or alter ego, SCPLLC, does substantial business in the State

of Wisconsin, in the ways previously alleged as to SCPLLC.

    B. Defendant Chevron

        119.    Chevron Chemical Company (“Chevron Chemical”) was a corporation organized

in 1928 under the laws of the State of Delaware.

        120.    In 1997, Chevron Chemical was merged into Chevron Chemical Company LLC

(“Chevron Chemical LLC”), a limited liability company organized under the laws of the State of

Delaware.

       121.     In the mid-2000s, Chevron Chemical LLC was merged into or continued to operate
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under the same or similar ownership and management as Chevron Phillips Chemical Company LP

(“CP Chemical”).

          122.     CP Chemical is a successor in interest to the crop-protection business of its

corporate predecessor Chevron Chemical LLC.

          123.     CP Chemical is a successor by merger or continuation of business to its corporate

predecessor Chevron Chemical.

          124.     Defendant Chevron U.S.A. is a corporation organized and existing under the laws

of the State of Delaware, with its principal place of business in the State of California.

          125.     Defendant Chevron U.S.A. is a successor in interest to the crop-protection business

of its corporate predecessor Chevron Chemical LLC.

          126.     Defendant Chevron U.S.A. is a successor in interest to the crop-protection business

of its corporate predecessor CP Chemical.

          127.     In the mid-2000s, Chevron USA entered into an agreement in which it expressly

assumed the liabilities of Chevron Chemical and Chevron Chemical LLC arising from Chevron

Chemical’s then-discontinued agrichemical business, which included the design, registration,

manufacture, formulation, packaging, labeling, distribution, marketing, and sale of paraquat

products in the United States as alleged in this Complaint.

      C. Paraquat Development and Sale

          128.     The herbicidal properties of Paraquat were discovered by Imperial Chemical

Industries PLC (“ICI”) in 1955.3

          129.     ICI developed, researched, manufactured, and tested Paraquat through its Central

Toxicology Laboratory in the early 1960s and produced the first chemical paraquat formulation,



3
    Sagar, G.R., Uses and Usefulness of Paraquat, Human Toxicology (1987) 6:1, 7-11.

                                                       20
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which it registered in England and introduced in certain markets under the brand name

GRAMOXONE®, in 1962.

       130.    ICI was awarded a U.S. patent on herbicide formulations containing paraquat as an

active ingredient in 1962.

       131.    ICI’s Central Toxicology Laboratory performed and submitted the health and safety

studies of Paraquat to the United States Department of Agriculture (“USDA”) and the United

States Environmental Protection Agency (“EPA”) to secure and maintain the registration of

Paraquat and other pesticides for use in the United States.

       132.    In or around 1964, ICI entered into a licensing and distribution agreement with

Chevron Chemical Company (“Chevron”) to sell Paraquat in the United States. Under this ICI-

Chevron Agreement, Chevron obtained an exclusive license to the patents and technical

information to permit Chevron to formulate or have formulated, use, and sell Paraquat under the

trade name GRAMOXONE® and other names in the United States and to sub-license others to do

so. Some form of this agreement remained in effect until September 1986 when ICI paid Chevron

for the early termination of its rights under the paraquat licensing and distribution agreement.

       133.    Through a long series of mergers, spin-offs, and related corporate transactions,

ownership of ICI’s Central Toxicology Laboratory was transferred to Syngenta Ltd., a wholly

owned British subsidiary of Syngenta AG. Since that time, Syngenta Ltd.’s Central Toxicology

Laboratory has continued to perform and submit health and safety studies to the EPA to secure

and maintain the registration of Paraquat and other pesticides in the United States.

       134.    Through the same long series of mergers, spin-offs, and related corporate

transactions, ICI’s agrochemical business was transferred to SCPLLC.

       135.    From approximately September 1986 through the present, Syngenta has:



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               a.      manufactured Paraquat for use as an active ingredient in herbicides
                       formulated and distributed for sale and use in the United States, including
                       the State of Wisconsin;

               b.      distributed Paraquat for use as an active ingredient in herbicides formulated
                       and distributed for sale and use in the United States, including the State of
                       Wisconsin;

               c.      formulated Paraquat products distributed for sale and use in the United
                       States, including the State of Wisconsin; and

               d.      distributed Paraquat products for sale and use in the United States, including
                       the State of Wisconsin.

       136.    Syngenta, through SCPLLC, is now the leading manufacturer of Paraquat, which it

sells under the brand name GRAMOXONE®.4

    D. Paraquat Use

       137.    Paraquat is designed to kill broadleaf weeds and grasses before the planting or

emergence of more than 100 field, fruit, vegetable, and plantation crops, to control weeds in

orchards, and to desiccate (dry) plants before harvest.

       138.    Paraquat products are commonly sprayed multiple times per year on the same land,

particularly when used to control weeds in orchards or on farms with multiple crops planted on the

same land within a single growing season or year, and such use was as intended, directed, or at

least foreseeable.

       139.    Paraquat is typically sold by Defendants to end-users in the form of a liquid

concentrate (and less commonly in the form of granular solids) designed to be diluted with water

before or after loading it into the tank of a sprayer, and applied by spraying it onto target weeds.




4
  Press Release, Federal Trade Commission, FTC Requires China National Chemical Corporation and
Syngenta AG to Divest U.S. Assets as Condition of Merger (April 4, 2017), https://www.ftc.gov/news-
events/press-releases/2017/04/ftc-requires-china-national-chemical-corporation-syngenta-ag.

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       140.     Paraquat concentrate is formulated with one or more “surfactants” to increase the

ability of the herbicide to stay in contact with the leaf, penetrate the leaf’s waxy surface, and enter

into plant cells, and the accompanying instructions typically told end-users to add a surfactant or

crop oil (which typically contains a surfactant) before use.

       141.     Paraquat products are typically applied with a knapsack sprayer, hand-held sprayer,

aircraft (i.e., crop duster), truck with a pressurized tank, or tractor-drawn pressurized tank, and

such use was as intended, directed, or at least foreseeable.

   E. Paraquat Exposure

       142.     Each year, Paraquat is applied to approximately 15 million acres of agricultural

crops, including corn, soybeans, wheat, cotton, fruit and vegetables, rice, orchards and grapes,

alfalfa, hay, and other crops. The following map demonstrates the nationwide use of Paraquat in

recent years:




                               USGS, Pesticide National Synthesis Project (2020),
https://water.usgs.gov/nawqa/pnsp/usage/maps/show_map.php?year=2017&map=PARAQUAT&hilo=L&disp=Para
                                                    quat.



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        143.    At all relevant times, it was reasonably foreseeable that applicators of Paraquat and

others nearby would be exposed to it when Paraquat was used in its intended, directed, and/or

foreseeable manner, including mixing, loading, spraying, or cleaning.

        144.    At all relevant times it was reasonably foreseeable that users and others nearby

would be exposed to Paraquat through contact with skin, breathing it in, and/or ingesting it.

        145.    Parkinson’s disease is a terrible disease classified as a progressive

neurodegenerative disorder of the brain that affects primarily the motor system, the part of the

central nervous system that controls movement.

        146.    Parkinson’s Disease is now one of the fastest growing neurological condition

diagnoses on the planet.

        147.    In a 2018 study by the Parkinson’s Project, it is estimated that 1.2 million

Americans will have been diagnosed with Parkinson’s by the year 2030.5

        148.    The characteristic symptoms of Parkinson’s disease are its “primary” motor

symptoms: resting tremor (shaking movement when the muscles are relaxed); bradykinesia

(slowness in voluntary movement and reflexes); rigidity (stiffness and resistance to passive

movement); and postural instability (impaired balance).

        149.    Parkinson’s primary motor symptoms typically result in “secondary” motor

symptoms such as freezing of gait; shrinking handwriting; mask-like expression; slurred,

monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty

swallowing; and excess saliva and drooling caused by reduced swallowing movements.

        150.    Non-motor symptoms are present in most cases, often for years before the primary

motor symptoms appear. These non-motor symptoms include, but are not limited to: loss of or


5 Marras, C., Beck, J.C., Bower, J.H. et al., Prevalence of Parkinson’s disease across North America, njp
Parkinson's Disease 4: 21 (2018). https://doi.org/10.1038/s41531-018-0058-0.

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altered sense of smell; constipation; low blood pressure on rising to stand; sleep disturbances; and

depression.

       151.    There is currently no cure for Parkinson’s disease. Existing treatments do not slow

or stop its progression; such treatments are capable only of temporarily and partially relieving the

motor symptoms. These treatments also have unwelcome side effects the longer they are used.

       152.    One of the primary pathophysiological hallmarks of Parkinson’s disease is the

selective degeneration and death of dopaminergic neurons (dopamine-producing nerve cells) in a

part of the brain called the substantia nigra pars compacta (“SNpc”).

       153.    Dopamine is a neurotransmitter (a chemical messenger that transmits signals from

one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of

motor function (among other things).

       154.    The death of dopaminergic neurons in the SNpc decreases the production of

dopamine.

       155.    Once dopaminergic neurons die, the body cannot replace them. When enough

dopaminergic neurons die, dopamine production falls below the level the brain requires to properly

control motor function, thus resulting in the motor symptoms of Parkinson’s disease.

       156.    The presence of Lewy bodies (insoluble aggregates of a protein called alpha-

synuclein) in many of the remaining dopaminergic Neurons in the SNpc is another of the primary

pathophysiological hallmarks of Parkinson’s disease.

       157.    Dopaminergic neurons are particularly susceptible to oxidative stress, a disturbance

in the normal balance between oxidants present in cells and cells’ antioxidant defenses.

       158.    Oxidative stress is a major factor in—if not the precipitating cause of—the

degermation and death of dopaminergic neurons in the SNpc and the accumulation of Lewy bodies



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in the remaining dopaminergic neurons that are the primary pathophysiological hallmarks of

Parkinson’s disease.

         159.   Paraquat is highly toxic to plants and animals.

         160.   Paraquat is designed to injure and kill plants by creating oxidative stress, which

causes or contributes to cause the degeneration and death of plant cells.

         161.   Similarly, Paraquat injures and kills animals by creating oxidative stress, which

causes or contributes to cause the degeneration and death of animal cells.

         162.   Paraquat creates oxidative stress in the cells of plants and animals because of “redox

properties” that are inherent in its chemical composition and structure—it is a strong oxidant and

readily undergoes “redox cycling” in the presence of molecular oxygen, which is plentiful in living

cells.

         163.   The redox cycling of Paraquat in living cells interferes with cellular functions that

are necessary to sustain life—with photosynthesis in plant cells and with cellular respiration in

animal cells.

         164.   The redox cycling of Paraquat in living cells creates a “reactive oxygen species”

known as a superoxide radical, an extremely reactive molecule that can initiate a cascading series

of chemical reactions that creates other reactive oxygen species that damage lipids, proteins, and

nucleic acids, which are molecules that are essential components of the structures and functions of

living cells.

         165.   Because the redox cycling of Paraquat can repeat indefinitely in the conditions

typically present in living cells, a single molecule of Paraquat can trigger the production of

countless molecules of destructive superoxide radical.




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        166.    Paraquat’s redox properties have been known within the science community since

at least the 1930s.

        167.    The same oxidation and redox potentials that make Paraquat highly toxic to plant

cells and other types of animal cells make Paraquat highly toxic to nerve cells, including

dopaminergic neurons, and create a substantial risk to all persons exposed to Paraquat.

        168.    The scientific community has known since the 1960s that paraquat is toxic to the

cells of plants, animals, and humans because it creates oxidative stress through redox cycling.

        169.    The surfactants with which the concentrates containing Paraquat manufactured,

distributed, and sold by Defendants, Defendants’ corporate predecessors, and others with whom

they acted in concert were likely to increase Paraquat’s toxicity to humans by increasing its ability

to stay in contact with or penetrate the skin, mucous membranes, and other epithelial tissues,

including tissues of the mouth, nose and nasal passages, trachea, and conducting airways, the

lungs, and the gastrointestinal tract.

        170.    Because Paraquat is highly poisonous, the form that is marketed in the United States

has a blue dye to keep it from being confused with beverages such as coffee, a sharp odor to serve

as a warning, and an added agent to cause vomiting if someone drinks it.

        171.    Paraquat is a “restricted use pesticide” under federal law, see 40 C.F.R. § 152.175,

which means it is “limited to use by or under direct supervision of a certified applicator.”

        172.    The same redox properties that make Paraquat toxic to plant cells and other types

of animal cells make it toxic to dopaminergic neurons. That is, Paraquat is a strong oxidant that

interferes with the function of dopaminergic neurons, damages those neurons, and ultimately kills

them by creating oxidative stress through redox cycling.




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         173.     Although Parkinson’s disease is not known to occur naturally in any species other

than humans, Parkinson’s disease research is often performed using “animal models,” in which

scientists use Paraquat to artificially produce the symptoms of Parkinson’s disease in animal test

subjects.

         174.     Paraquat is one of only a handful of toxins that scientists use to produce animal

models of Parkinson’s disease.

         175.     In animal models of Parkinson’s disease, hundreds of studies involving various

routes of exposure have found that Paraquat creates oxidative stress that results in: the

degeneration and death of dopaminergic neurons in the SNpc; other pathophysiology consistent

with that seen in human Parkinson’s disease; and motor deficits and behavioral changes consistent

with those commonly seen in human Parkinson’s disease.

         176.     Hundreds of in vitro studies (experiments in test tube, culture dish, or other

controlled experimental environment) have found that Paraquat creates oxidative stress that results

in the degeneration and death of dopaminergic neurons (and many other types of animal cells).

Among those, the following are notable:

         177.     In 1994, Dr. Afonso Bainy published a study concluding that paraquat in vitro

exposure led to an increment in the anti-oxidant capacity of the red blood cell.6

         178.     In 2002, Dr. Gabriele Schmuck published a study concluding that cortical neurons

were found to be more sensitive towards paraquat toxicity than astrocytes as shown by MTT and

Neutral Red assay, two different cytotoxicity assays.7




6
  Bainy, AC, et al, Influence of lindane and paraquat on oxidative stress-related parameters of erythrocytes in vitro,
Human & Experimental Toxicology (1994), 13:7 461-465.
7
  Schmuck, G, et al, Oxidative stress in rat cortical neurons and astrolytes induced by paraquat in vitro.
Neurotoxicity Research (2002) 4:1, 1-13.

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        179.     In 2019, Dr. Liyan Hou published a study showing that paraquat and maneb

exposure induced ferroptosis, a form of regulated cell death, in SHSY5Y dopaminergic cells.8

        180.     Many epidemiological studies (studies of the patterns and causes of disease in

defined populations) have found an association between Paraquat exposure and Parkinson’s

disease, including multiple studies finding a two- to five-fold or greater increase in the risk of

Parkinson’s disease in populations with occupational exposure to Paraquat compared to

populations without such exposure.

        181.     In June 2011, Dr. Caroline Tanner published a study examining whether pesticides

that cause mitochondrial dysfunction or oxidative stress, including Paraquat, were associated with

Parkinson’s Disease or clinical features of parkinsonism in humans.9 The study found that Paraquat

use plays a role in human Parkinson’s Disease and that “[b]ecause paraquat remains one of the

most widely used herbicide worldwide (Frabotta 2009), this finding potentially has great public

health significance.”10

        182.     In November 2012, Dr. Samuel Goldman published a study entitled “Genetic

Modification of the Association of Paraquat and Parkinson’s Disease.”11 The study found that

those who applied Paraquat and had the GSTT1*0 genotype were 11.1 times more likely to develop

Parkinson’s disease. Paraquat damages neurons by generating oxidative stress through redox

cycling; the GSTT1 gene encodes an enzyme that prevents redox cycling. Around 20% of

Caucasians do not have the GSTT1 gene and thus have the GSTT1*0 genotype. The lack of the




8
  Hou L, et al, NADPH oxidase regulates paraquat and maneb-induced dopaminergic neurodegeneration through
ferroptosis, Toxicology (2019), 1:417 64-73.
9
  Tanner, Caroline M., et al., Rotenone, paraquat, and Parkinson’s disease. 119 Environ Health Perspect. 866-872
(2011).
10
   Id.
11
   Samuel M. Goldman et al., Genetic Modification of the Association of Paraquat and Parkinson’s Disease, 27
Mov.t Disord. 1652-1658 (2012).

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GSTT1 gene may cause those with the GSTT1*0 genotype to be more vulnerable to Paraquat’s

redox cycling mechanism and therefore more likely to develop Parkinson’s.

        183.     In July 2002, Dr. Alison McCormack published a study examining the effect of

Paraquat on mice.12 The study found that Paraquat injections selectively kill dopaminergic neurons

in the SNpc.

        184.     Dr. Robert Nisticó published a study in April 2011 that concluded that Paraquat

causes the cell death of dopaminergic neurons within the substantia nigra, serotonergic neurons

within the raphe nuclei, and noradrenergic neurons within the locus coeruleus.13 The researchers

noted that Parkinson’s pathology begins in the SNpc and “progressively involves noradrenergic

and serotonergic neurons within the locus coeruleus and raphe nuclei.”

        185.     In December 2011, Dr. Phillip Rappold published a study demonstrating how

Paraquat entered dopaminergic neurons and killed the neurons through oxidative stress.14 Paraquat

converted to PQ+, which entered dopaminergic neurons through their dopamine transporters. PQ+

then also reacted with dopamine, which enhanced the Paraquat-induced oxidative stress. The

researchers argued that dopaminergic neurons are more vulnerable to Paraquat because PQ+ reacts

with dopamine to increase oxidative stress.

        186.     In November 2012, Dr. Pei-Chen Lee published a study examining the associations

between traumatic brain injuries, Paraquat, and Parkinson’s disease.15 The study found an

association between Paraquat exposure and Parkinson’s.



12
   Alison L. McCormack et al., Environmental Risk Factors and Parkinson’s Disease: Selective Degeneration of
Dopaminergic Neurons Caused by the Herbicide Paraquat 10 Neurobiol. Dis. 119-127 (2002).
13
   R. Nisticó et al., Paraquat- and Rotenone-Induced Models of Parkinson’s Disease, 24 Int. J. Immunopathol.
Pharmacol. 313-322 (2011).
14
   Phillip M. Rappold et al., Paraquat Neurotoxicity is Mediated by the Dopamine Transporter and Organic Cation
Tranpsorter-3, 108 Proc. Natl. Acad. Of Sci. U.S.A. 20766-20771 (2011).
15
   Pie-Chen Lee et al., Traumatic Brain Injury, Paraquat Exposure, and their Relationship to Parkinson Disease, 79
Neurology 2061-2066 (2012).

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         187.     In May 2013, Dr. Gianni Pezzoli published a meta-analysis examining seven

studies on Paraquat exposure.16 The meta-analysis evaluated the seven studies together and

separately evaluated the highest quality studies; in both analyses, those exposed to Paraquat were

more likely to develop Parkinson’s disease.

         188.     In a memorandum from March 2, 2016 recommending mitigation measures for

Paraquat, the EPA acknowledged the numerous studies linking Paraquat to Parkinson’s disease

stating, “[t]here is a large body of epidemiology data on paraquat dichloride use and Parkinson’s

disease.”17

         189.     The kidney is the main organ responsible for paraquat excretion and Paraquat is

known to be highly nephrotoxic. Dermal exposure to Paraquat has revealed inflammatory cell

infiltration, tubular necrosis and diffuse interstitial fibrosis.18 Paraquat causes toxic chemical

reactions to occur in the kidneys, and long-term effects, including kidney failure, are possible.19

         190.     Extensive exposure to Paraquat, like that experienced by Plaintiff, have been shown

to more than double the risk of end stage renal disease.

         191.     Switzerland, where SAG maintains its headquarters, has not only prohibited the use

of Paraquat since 1989 but recently amended the law on chemical substances to prohibit the export

of Paraquat to help protect the health and environment in importing countries, particularly in the

developing world.20


16
   Gianni Pezzoli & Emanuele Cereda, Exposure to Pesticides or Solvents and Risk of Parkinson Disease, 80
Neurology 2035-2041 (2013).
17
   Environmental Protection Agency, Paraquat Dichloride; Proposed Mitigation Decision (March 2, 2016),
https://www.regulations.gov/document/EPA-HQ-OPP-2011-0855-0031.
18
   Tungsanga K, Chusilp S, Israsena S, Sitprija V. Paraquat poisoning: evidence of systemic toxicity after dermal
exposure. Postgrad Med J 1983; 59(691):338-9.dd
19
   Centers for Disease Control and Prevention, Facts About Paraquat,
https://emergency.cdc.gov/agent/paraquat/basics/facts.asp.
20
   Switzerland bans the export of five toxic chemicals, including paraquat, MercoPress (October 16, 2020 09:20
UTC), https://en.mercopress.com/2020/10/16/switzerland-bans-the-export-of-five-toxic-chemicals-including-
paraquat.

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        192.     The Ministry of Agriculture of the People’s Republic of China classifies Paraquat

as extremely toxic. Paraquat’s use or sale in China has been prohibited since September 1, 2020.21

        193.     Paraquat use has been banned in the European Union since 2007.22

        194.     The manufacture, formulation, and distribution of herbicides, such as Paraquat, are

regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. §

136 et seq. FIFRA requires that all pesticides be registered with the Environmental Protection

Agency (“EPA”) before their distribution, sale, or use, except as described by FIFRA 7 U.S.C. §

136a(a).

        195.     The EPA requires the registrant of a pesticide to conduct a variety of tests as part

of the registration process to evaluate the potential for exposure to pesticides, toxicity to people

and other potential non-target organisms, and other adverse effects on the environment.

        196.     Registration by the EPA is not an assurance or finding of safety. The determination

the EPA makes in registering or re-registering a product is not that the product is “safe,” but rather

that use of the product in accordance with its label directions “will not generally cause

unreasonable adverse effects on the environment.” 7 U.S.C. § 136(a)(c)(5)(D).

        197.     FIFRA defines “unreasonable adverse effects on the environment” to mean “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus

requires the EPA to make a risk/benefit analysis in determining whether a registration should be

granted or allowed to continue to be sold in commerce.




21
   Business Wire, 2018 Market Research on Paraquat in China, AP, (September 10, 2018),
https://apnews.com/press-release/pr-businesswire/0625d4cb368247b38ea803ff3842c203.
22
   EU Court Reimposes Ban on Paraquat Weedkiller, Reuters, July 11, 2007,
https://www.reuters.com/article/environment-eu-paraquat-dc/eu-court-reimposes-ban-on-paraquat-weedkiller-
idUSL1166680020070711.

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        198.   FIFRA generally requires that the registrant conduct health and safety testing of

pesticides. The government is not required to, nor does it generally, perform the product tests that

are required of the manufacturer.

        199.   Syngenta has long misrepresented and denied the harmful side effects of its

Paraquat-based products.

        200.   In response to growing concern about the safety of Paraquat, Syngenta established

a website at www.paraquat.com for the purpose of persuading the public that Paraquat is safe.

        201.    Syngenta’s statements proclaiming the safety of Paraquat and disregarding its

dangers were designed to mislead the agricultural community and the public at large, including

Plaintiff.

        202.   As of the filing of this Complaint, www.paraquat.com has been taken down by

Syngenta.

        203.    Defendants knew or should have known that Paraquat was a highly toxic substance

that can cause severe neurological injuries and impairment.

        204.    Defendants failed to appropriately and adequately test its Paraquat-based products

to protect individuals like Plaintiff from the hazards of exposure to Paraquat.

        205.    Despite its knowledge that exposure to Paraquat was dangerous, Defendants

continued to promote their Paraquat-based products as safe.

        206.    In fact, in 2003, when Syngenta was dealing with lawsuits regarding another toxic

herbicide, atrazine, it was reported that “Sherry Ford, the communications manager, wrote in her

notebook that the company ‘should not phase out [atrazine] until we know about’ the Syngenta

herbicide Paraquat, which has also been controversial, because of studies showing that it might be




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associated with Parkinson’s disease. She noted that atrazine ‘focuses attention away from other

products.’”23

        207.     Defendants’ failure to adequately warn Plaintiff resulted in: (1) Plaintiff being

exposed to Paraquat; and (2) scientists and physicians failing to warn and instruct the public,

particularly those living in agricultural areas where Paraquat-based pesticides are heavily sprayed,

about the risk of Parkinson’s disease and renal disease with exposure to Paraquat.

        208.     By reason of the foregoing, Plaintiff was severely and permanently injured and

was diagnosed with Parkinson's Disease. Plaintiff passed away from complications related to his

Parkinson’s Disease on July 11, 2019.

        209.     By reason of the foregoing acts and omissions, Plaintiff has endured and continues

to suffer, emotional and mental anguish, medical expenses, and other economic and non-economic

damages, as a result of Defendants’ actions and inactions.

        210.     Plaintiff was regularly exposed to Paraquat as a result of direct exposure via

handling, mixing, loading, and cleaning up Paraquat.

        211.     Plaintiff subsequently began experiencing symptoms and was diagnosed with

Parkinson’s disease in approximately January 2012.

        212.     As a result of Plaintiff’s injuries, Plaintiff has incurred significant economic and

non-economic damages.

        213.     Plaintiff was directly exposed to Defendants’ Paraquat products from

approximately 1972 to 2018. Plaintiff’s husband was a certified applicator of restricted-use

pesticides and sprayed Paraquat products regularly on the family farm growing corn, alfalfa, oats




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  Rachel Aviv, A Valuable Reputation, The New Yorker, (Feb 3, 2014),
https://www.newyorker.com/magazine/2014/02/10/a-valuable-reputation.

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and sorghum. Plaintiff mixed, loaded, sprayed and cleaned up Paraquat products on her family

farm in Webster, Wisconsin.

       214.     During the entire time that Plaintiff was exposed to Paraquat, Plaintiff did not know

that exposure to Paraquat when handled according to the instructions could be injurious to Plaintiff

or others.

       215.     Plaintiff first learned that exposure to Paraquat can cause Parkinson’s disease, end

stage renal disease, and other serious illnesses sometime after February 2022.

                                   COUNT I – NEGLIGENCE

       216.     Plaintiff re-alleges each paragraph above as if fully set forth herein.

       217.     Defendants had a duty to exercise ordinary care in the designing, researching,

testing, manufacturing, marketing, supplying, promoting, packaging, sale, and/or distribution of

Paraquat products into the stream of commerce, including a duty to assure that the product would

not cause those exposed to it to suffer unreasonable and dangerous side effects.

       218.     Defendants failed to exercise ordinary care in the designing, researching, testing,

manufacturing, marketing, supplying, promoting, packaging, sale, quality assurance, quality

control, and/or distribution of Paraquat products in that Defendants knew or should have known

that persons foreseeably exposed to Paraquat products were placed at a high risk of suffering

unreasonable and dangerous side effects, including, but not limited to, the development of

Parkinson’s disease or renal disease, as well as other severe and personal injuries that are

permanent and lasting in nature; physical pain and mental anguish, including diminished

enjoyment of life; and a need for lifelong medical treatment, monitoring, and/or medications.

       219.     The negligence by Defendants, their agents, servants, and/or employees, included

but was not limited to the following acts and/or omissions:



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     a.    Manufacturing, producing, promoting, formulating, creating, and/or
           designing Paraquat products without thoroughly testing it;

     b.    Failing to test Paraquat products and/or failing to adequately, sufficiently,
           and properly test Paraquat products;

     c.    Not conducting sufficient testing programs to determine whether Paraquat
           products were safe for use -- Defendants knew or should have known that
           Paraquat products were unsafe and unfit for use because of the dangers to
           those exposed to it;

     d.    Not conducting sufficient testing programs and studies to determine
           Paraquat product’s effects on human health even after Defendants had
           knowledge of studies linking Paraquat products to latent neurological
           damage and neurodegenerative disease, including Parkinson’s disease, and
           renal disease;

     e.    Negligently failing to adequately and correctly warn the Plaintiff, the
           public, the medical and agricultural professions, and the EPA of the dangers
           of Paraquat products;

     f.    Failing to provide adequate cautions and warnings to protect the health of
           persons who would reasonably and foreseeably be exposed to Paraquat
           products;

     g.    Negligently marketing, advertising, and recommending the use of Paraquat
           products without sufficient knowledge as to its dangerous propensities;

     h.    Negligently representing that Paraquat products were safe for use for its
           intended purpose when, in fact, it was unsafe;

     i.    Negligently representing that Paraquat products had equivalent safety and
           efficacy as other forms of herbicides;

     j.    Negligently designing Paraquat products in a manner that was dangerous to
           others;

     k.    Negligently manufacturing Paraquat products in a manner that was
           dangerous to others;

     l.    Negligently producing Paraquat products in a manner that was dangerous
           to others;

     m.    Negligently formulating Paraquat products in a manner that was dangerous
           to others;



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               n.       Concealing information from the Plaintiff while knowing that Paraquat
                        products were unsafe, dangerous, and/or non-conforming with EPA
                        regulations;

               o.       Improperly concealing and/or misrepresenting information from the
                        Plaintiff, scientific and medical professionals, and/or the EPA, concerning
                        the severity of risks and dangers of Paraquat products compared to other
                        forms of herbicides; and

               p.       Negligently selling Paraquat products with a false and misleading label.

       220.    Defendants under-reported, underestimated, and downplayed the serious dangers

of Paraquat products.

       221.    Defendants      were    negligent    in   the   designing,   researching,   supplying,

manufacturing, promoting, packaging, distributing, testing, advertising, warning, marketing, and

selling of Paraquat products in that Defendants:

               a.       Failed to use ordinary care in designing and manufacturing Paraquat
                        products so as to avoid the aforementioned risks to individuals when
                        paraquat was used as an herbicide;

               b.       Failed to accompany Paraquat products with proper and/or accurate
                        warnings regarding all possible adverse effects associated with exposure to
                        paraquat;

               c.       Failed to warn Plaintiff of the severity and duration of such adverse effects,
                        as the warnings given did not accurately reflect the symptoms, or severity
                        of the effects including, but not limited to, developing Parkinson’s disease
                        or renal disease;

               d.       Failed to conduct adequate testing, clinical testing and post-marketing
                        surveillance to determine the safety of Paraquat products;

               e.       Misrepresented the evidence of paraquat’s neurotoxicity; and

               f.       Was otherwise careless and/or negligent.

       222.    Despite the fact that Defendants knew or should have known that Paraquat

products caused, or could cause, unreasonably dangerous health effects, Defendants continue to

market, manufacture, distribute, and/or sell Paraquat products to consumers.

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       223.     Defendants knew or should have known that consumers like Plaintiff would

foreseeably suffer injury as a result of Defendants’ failure to exercise ordinary care.

       224.     Defendants’ negligence was the proximate cause of Plaintiff’s injuries, harm and

economic loss, which Plaintiff suffered and will continue to suffer.

       225.     As a result of the foregoing acts and omissions, Plaintiff suffered from Parkinson’s

disease and death, physical disability, mental anguish, including diminished enjoyment of life, as

well as financial expenses for hospitalization, medical care, and death.

       226.     WHEREFORE, Plaintiff, Sheryl Campbell, individually, and as Personal

Representative of the Estate of Martha Derrick, respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

                   COUNT II – STRICT LIABILITY (DESIGN DEFECT)

       227.     Plaintiff re-alleges each paragraph above as if fully set forth herein.

       228.     At all times herein mentioned, Defendants designed, researched, manufactured,

tested, advertised, promoted, sold, and/or distributed Paraquat products as described above to

which Plaintiff was exposed.

       229.     Paraquat products were expected to and did reach the usual consumers, handlers,

and persons coming into contact with it without substantial change in the condition in which they

were produced, manufactured, sold, distributed, and/or marketed by Defendants.

       230.     At those times, paraquat products were in an unsafe, defective condition that was

unreasonably dangerous to users, and in particular, to the Plaintiff.

       231.     For many years, Plaintiff was exposed to Defendants’ Paraquat products regularly

and repeatedly for hours at a time resulting in regular, repeated, and prolonged exposure of Plaintiff



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to Paraquat.

       232.    The Paraquat products designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and/or distributed by Defendants were defective in design or

formulation in that, when they left the hands of the manufacturer and/or suppliers, the foreseeable

risks exceeded the benefits associated with the design or formulation of the Paraquat products.

       233.    The Paraquat products designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and/or distributed by Defendants were defective in design and/or

formulation, in that, when they left the hands of Defendants or their manufacturers and/or

suppliers, they were unreasonably dangerous, unreasonably dangerous in normal use, and they

were more dangerous than an ordinary consumer would expect. On balance, the unreasonable

risks posed by Paraquat products outweighed the benefits of their design.

       234.    At all relevant times, Paraquat products were in a defective condition and unsafe,

and Defendants knew or had reason to know they were defective and unsafe, especially when used

in the form and manner as intended by Defendants. In particular, the Paraquat products were

defective in the following ways:

               a.     Paraquat products were designed, manufactured, formulated, and packaged
                      such that when so used, Paraquat was likely to be inhaled, ingested, and
                      absorbed into the bodies of persons who used them, while they were being
                      used, or entered fields or orchards where they have been sprayed or areas
                      near where they had been sprayed; and

               b.     when inhaled, ingested, or absorbed into the bodies of persons who used
                      them, were nearby while they were being used, or entered fields or orchards
                      where they had been sprayed or areas near where they had been sprayed,
                      Paraquat was likely to cause or contribute to cause latent, permanent, and
                      cumulative neurological or renal damage, and repeated neurodegenerative
                      disease, including Parkinson’s disease to develop over time and manifest
                      long after exposure.

       235.    In breach of their duty to Plaintiff, Defendants acted negligently, and in conscious



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disregard for the safety of others:

               a.      failed to design, manufacture, formulate, and package Defendants’ Paraquat
                       products to make Paraquat unlikely to be inhaled, ingested, and absorbed
                       into the bodies of persons who used them, were nearby while they were
                       being used, or entered fields or orchards where they had been sprayed or
                       areas near where they had been sprayed;

               b.      designed and manufactured Paraquat and designed and formulated
                       Defendants’ Paraquat products such that when inhaled, ingested, or
                       absorbed into the bodies of persons who used Defendants’ Paraquat
                       products, were nearby while they were being used, or entered fields or
                       orchards where they had been sprayed or areas near where they had been
                       sprayed, Paraquat was likely to cause latent, cumulative, and permanent
                       neurological or renal damage, and repeated exposures were likely to cause
                       or contribute to cause clinically significant renal or neurodegenerative
                       disease, including Parkinson’s disease, to develop over time and manifest
                       long after exposure;

               c.      failed to perform adequate testing to determine the extent to which exposure
                       to Paraquat was likely to occur through inhalation, ingestion, and
                       absorption; into the bodies of persons who used them, were nearby while
                       they were being used, or entered fields or orchards where they had been
                       sprayed or areas near where they had been sprayed;

               d.      failed to perform adequate testing to determine the extent to which spray
                       drift from Defendants’ Paraquat products was likely to occur, including
                       their propensity to drift, the distance they were likely to drift, and the extent
                       to which Paraquat spray droplets were likely to enter the bodies of persons
                       spraying Defendants’ Paraquat products or nearby during or after spraying;

               e.      failed to perform adequate testing to determine the extent to which Paraquat,
                       when inhaled, ingested, or absorbed into bodies of persons who used
                       Defendants’ Paraquat products, were nearby while they were being used, or
                       entered fields or orchards where they had been sprayed or areas near where
                       they had been sprayed, was likely to cause or contribute to cause latent,
                       cumulative, and permanent neurological or renal damage, and the extent to
                       which repeated exposures were likely to cause or contribute to cause
                       clinically significant renal or neurodegenerative disease, including
                       Parkinson’s disease, to develop over time and manifest long after exposure;

               f.      failed to perform adequate testing to determine the extent to which Paraquat,
                       when formulated or mixed with surfactants or other pesticides, and inhaled,
                       ingested, or absorbed into the bodies of persons who used Defendants’
                       Paraquat products, were nearby while they were being used, or entered
                       fields or orchards where they had been sprayed or areas near where they had

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                         been sprayed, was likely to cause or contribute to cause latent, cumulative,
                         and permanent neurological or renal damage, and the extent to which
                         repeated exposures were likely to cause or contribute to cause significant
                         renal or neurodegenerative disease, including Parkinson’s disease, to
                         develop over time and manifest long after exposure;

                   g.    failed to direct that Defendants’ Paraquat products be used in a manner that
                         would have made it unlikely for Paraquat to have been inhaled, ingested, or
                         absorbed into the bodies of persons who used Defendants’ Paraquat
                         products, were nearby while they were being used, or entered fields or
                         orchards where they had been sprayed or areas near where they had been
                         sprayed; and

                   h.    failed to warn that when inhaled, ingested, or absorbed into the bodies of
                         persons who used Defendants’ Paraquat products, were nearby while they
                         were being used, or entered fields or orchards where they had been sprayed
                         or areas near where they had been sprayed, Paraquat was likely to cause or
                         contribute to cause significant renal or neurodegenerative disease, including
                         Parkinson’s disease, to develop over time and manifest long after exposure.

        236.       Defendants knew or should have known that at all relevant times that their Paraquat

products were in a defective condition and were (and are) unreasonably dangerous and unsafe and

would create a substantial risk of harm to persons who used them, were nearby while Paraquat

products were being used, or entered fields or orchards where Paraquat products had been sprayed

or areas near where Paraquat products had been sprayed.

        237.       Armed with this knowledge, Defendants voluntarily designed their Paraquat

products with a dangerous condition knowing that in normal, intended use, consumers such as

Plaintiff would be exposed to it.

        238.       Plaintiff was exposed to Paraquat without knowledge of Paraquat’s dangerous

characteristics.

        239.       At the time of Plaintiff’s exposure to Paraquat, Paraquat was being used for the

purposes and in a manner normally intended, as a broad-spectrum pesticide.




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       240.     The Paraquat products designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and/or distributed by Defendants reached their intended users in the

same defective and unreasonably dangerous condition in which it was manufactured.

       241.     Defendants designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and/or distributed a defective product, which created an unreasonable risk to the

consumer and to Plaintiff in particular, and Defendants are therefore strictly liable for the injuries

sustained by Plaintiff.

       242.     Plaintiff could not, by the exercise of reasonable care, have discovered Paraquat’s

defects herein mentioned or perceived its danger.

       243.     Defendants are thus strictly liable to Plaintiff for the manufacturing, marketing,

promoting, distribution, and/or selling of a defective product which they negligently designed.

       244.     Defendants’ defective design of Paraquat products amounts to willful, wanton,

and/or reckless conduct.

       245.     As a direct and proximate result of the defects in Defendants’ Paraquat products

were the cause or a substantial factor in causing Plaintiff’s injuries.

       246.     As a result of the foregoing acts and omissions, Plaintiff suffered severe and

personal injuries and death, as alleged above, physical pain, and mental anguish, including

diminished enjoyment of life, and financial expenses for hospitalization, medical care, and death.

       247.    WHEREFORE, Plaintiff, Sheryl Campbell, individually, and as Personal

Representative of the Estate of Martha Derrick, respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

                 COUNT III – STRICT LIABILITY (FAILURE TO WARN)



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        248.    Plaintiff re-alleges each paragraph above as if fully set forth herein.

        249.    Defendants engaged in the business of selling, testing, distributing, supplying,

manufacturing, marketing, and/or promoting Paraquat, and through that conduct have knowingly

and intentionally placed Paraquat into the stream of commerce with full knowledge that it reaches

consumers such as Plaintiff who was exposed to it through ordinary and reasonably foreseeable

uses.

        250.    Defendants did in fact sell, distribute, supply, manufacture, and/or promote

Paraquat products. Additionally, Defendants expected the Paraquat that they were selling,

distributing, supplying, manufacturing, and/or promoting to reach Plaintiff without any substantial

change in the condition of the product from when it was initially distributed.

        251.    At the time of manufacture, Defendants knew, or in the exercise of ordinary care,

should have known that:

               a.      Defendants’ Paraquat products were designed, manufactured, formulated,
                       and packaged such that it was likely to be inhaled, ingested, and absorbed
                       into the bodies of people who used it, who were nearby when it was being
                       used, or who entered fields or orchards where it had been sprayed or areas
                       near where it had been sprayed; and

               b.      when inhaled, ingested, or absorbed into the body, it was likely to cause
                       latent neurological or renal damage that was both permanent and
                       cumulative, and that repeated exposures were likely to cause renal or
                       neurodegenerative disease, including Parkinson’s disease.

        252.    At all relevant times, Defendants’ Paraquat products were in a defective condition

such that they were unreasonably dangerous to those exposed to them and was so at the time they

were distributed by Defendants and at the time Plaintiff was exposed to and/or ingested the

product. The defective condition of Paraquat was due in part to the fact that it was not accompanied

by proper warnings regarding its toxic qualities and possible health effects, including, but not

limited to, developing Parkinson’s disease or renal disease as a result of exposure. That defective

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condition was not a common propensity of the Paraquat products that would be obvious to a user

of those products.

       253.     Defendants’ Paraquat products did not contain a necessary warning or caution

statement that, if complied with, would have been adequate to protect the health of those exposed

in violation of 7 U.S.C. § 136j(a)(1)(E).

       254.     Defendants failed to include a necessary warning or caution statement that, if

complied with, would have been adequate to protect the health of those exposed.

       255.     Defendants could have revised Paraquat’s label to provide additional warnings.

       256.     This defect caused serious injury to Plaintiff, who was exposed to Paraquat in its

intended and foreseeable manner.

       257.     At all relevant times, Defendants had a duty to properly design, manufacture,

compound, test, inspect, package, label, distribute, market, examine, maintain supply, provide

proper warnings, and take such steps to assure that the product did not cause users to suffer from

unreasonable and dangerous side effects.

       258.     Defendants labeled, distributed, and promoted a product that was dangerous and

unsafe for the use and purpose for which it was intended.

       259.     Defendants failed to warn of the nature and scope of the health risks associated

with Paraquat, namely its toxic properties and its propensity to cause or serve as a substantial

contributing factor in the development of Parkinson’s disease or renal disease.

       260.     Defendants knew of the probable consequences of exposure to Paraquat. Despite

this fact, Defendants failed to exercise reasonable care to warn of the dangerous toxic properties

and risks of developing Parkinson’s disease or renal disease from Paraquat exposure, even though

these risks were known or reasonably scientifically knowable at the time of distribution.



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Defendants willfully and deliberately failed to avoid the consequences associated with its failure

to warn, and in doing so, acted with conscious disregard for Plaintiff’s safety.

       261.     At the time of exposure, Plaintiff could not have reasonably discovered any defect

in Paraquat through the exercise of reasonable care.

       262.     Defendants, as manufacturers and/or distributors of Paraquat, are held to the level

of knowledge of an expert in the field. There was unequal knowledge with respect to the risk of

harm, and Defendants, as manufacturers of Paraquat products possessed superior knowledge and

knew or should have known that harm would occur in the absence of a necessary warning.

       263.     Plaintiff reasonably relied on the skill, superior knowledge, and judgment of

Defendants.

       264.     Had Defendants properly disclosed the risks associated with Paraquat, Plaintiff

would have taken steps to avoid exposure to Paraquat.

       265.     The information that Defendants provided failed to contain adequate warnings and

precautions that would have enabled users to use the product safely and with adequate protection.

Instead, Defendants disseminated information that was inaccurate, false, and misleading and that

failed to communicate accurately or adequately the comparative severity, duration, and extent of

the risk of injuries associated with use of and/or exposure to Paraquat; continued to promote the

efficacy of Paraquat, even after they knew or should have known of the unreasonable risks from

exposure; and concealed, downplayed, or otherwise suppressed, through aggressive marketing and

promotion, any information or research about the risks and dangers of exposure to Paraquat.

       266.     To this day, Defendants have failed to adequately warn of the true risks of exposure

to Paraquat, including the risks manifested by Plaintiff’s injuries associated with exposure to

Paraquat.



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        267.     As a result of its inadequate warnings, Paraquat was defective and unreasonably

dangerous when it left Defendants’ possession and/or control, was distributed by Defendants, and

when Plaintiff was exposed to it.

        268.     As a direct and proximate result, Plaintiff developed Parkinson’s disease, and

suffered severe and personal injuries and death, physical pain and mental anguish, including

diminished enjoyment of life, and financial expenses for hospitalization, medical care, and death.

        269.     WHEREFORE, Plaintiff, Sheryl Campbell, individually, and as Personal

Representative of the Estate of Martha Derrick, respectfully request that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

 COUNT IV - VIOLATION OF ILLINOIS CONSUMER FRAUD AND DECEPTIVE
              BUSINESS PRACTICES ACT (815 ILCS 505/1 et seq.)

        270.     Plaintiff incorporates by reference all of the above-stated paragraphs as though

fully set forth therein.

        271.    The Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.

(“WDTPA”) prohibits Defendants from making representations or statements which are untrue,

deceptive or misleading.

        272.    As more fully stated above, Defendants violated the WDTPA. In particular,

Defendants made representations about the safety of Paraquat products to the public with the intent

to sell Paraquat products to consumers like Plaintiff.

        273.    Defendants’ representations, particularly concerning the safety of Paraquat, were

untrue, deceptive and/or misleading.

        274.    Defendants’ representations caused Plaintiff and her family a pecuniary loss.

        275.    Had Defendants not engaged in the deceptive conduct described herein, Plaintiff

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and her family would not have purchased and/or paid for Defendants’ Paraquat products, and

would not have incurred related medical costs and injuries.

        276.     Defendants used, in commerce, false or misleading descriptions of fact, and/or

false or misleading representations of fact, which likely or did cause confusion or mistake.

Defendants misrepresented and denied the harmful side effects of their Paraquat-based products.

        277.     Defendants’ false or misleading descriptions of fact, and/or false or misleading

representations of fact, caused or likely caused, customer confusion regarding the safety of their

Paraquat products.

        278.     Plaintiff has been injured (and subsequently died) due to Defendants’ conduct.

        279.     As a direct and proximate result of the foregoing, Plaintiff developed Parkinson’s

disease, and suffered severe and personal injuries that are permanent and lasting in nature, death,

physical pain and mental anguish, including diminished enjoyment of life, and financial expenses

for hospitalization and medical care.

        280.    WHEREFORE, Plaintiff, Sheryl Campbell, individually, and as Personal

Representative of the Estate of Martha Derrick, respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

      COUNT V – BREACH OF IMPLIED WARRANTY OF MERCHANTIBILITY

        281.     Plaintiff incorporates by reference all of the above-stated paragraphs as though

fully set forth therein.

        282.     At all relevant times, Defendants were engaged in the business of selling Paraquat

products, and was a merchant with respect to those products.

        283.     At all relevant times, Defendants intended and expected that Defendants’ Paraquat



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products would be sold and used.

       284.     Defendants developed, manufactured, distributed, and sold Paraquat for use in

formulating Defendants’ Paraquat products, and developed, registered, formulated, and distributed

Defendants’ Paraquat products for sale in the United States.

       285.     Plaintiff was exposed Defendants’ Paraquat products regularly and repeatedly, for

hours at a time, resulting in regular, repeated, and prolonged exposure to Paraquat.

       286.     At the time of each sale of Defendants’ Paraquat products that resulted in

Plaintiff’s exposure to paraquat, Defendants impliedly warranted that Defendants’ Paraquat

products were of merchantable quality, including that they were fit for the ordinary purposes for

which such goods were used.

       287.     Defendants breached this warranty as to each sale of Defendants’ Paraquat

products that resulted in Plaintiff’s exposure to Paraquat, in that Defendants’ Paraquat products

were not of merchantable quality because they were not fit for the ordinary purpose for which such

goods were used by Plaintiff who was either in direct privity with Defendants through purchase of

the Paraquat products or was an employee of the purchaser to whom the warranty was directly

made and, therefore, an intended third-party beneficiary of such warranties.

       288.     As a direct and proximate result of the breaches of the implied warranty of

merchantability by Defendants, Plaintiff developed Parkinson’s disease, and suffered severe and

personal injuries and death, physical pain and mental angsh, including diminished enjoyment of

life, and financial expenses for hospitalization, medical care, and death.

       289.     WHEREFORE, Plaintiff, Sheryl Campbell, individually, and as Personal

Representative of the Estate of Martha Derrick, respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein



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incurred, attorneys’ fees and all relief as this Court deems just and proper.

                      COUNT VI – WILFUL AND WANTON CONDUCT

        290.     Plaintiff incorporates by reference all of the above-stated paragraphs as though

fully set forth therein.

        291.     Defendants are guilty of one or more of the following acts or omissions amounting

to willful and wanton misconduct:

                  a. Intentionally or with a reckless disregard for the safety of Plaintiff,
                     negligently designing, manufacturing, distributing, and failing to warn of the
                     dangers of Paraquat, even though it was completely foreseeable and could or
                     should have been anticipated that persons such as Plaintiff working with or
                     around Paraquat would inhale, ingest, absorb, or otherwise be exposed to
                     great amounts of Paraquat;

                  b. Intentionally or with a reckless disregard for the safety of Plaintiff,
                     negligently designing, manufacturing, distributing, and failing to warn of the
                     dangers of Paraquat when the Defendants knew or should have known that
                     Paraquat would have a toxic, poisonous and highly deleterious effect upon
                     the health of persons inhaling, ingesting, absorbing, or otherwise being
                     exposed to Paraquat;

                  c. Intentionally or with a reckless disregard for the safety of Plaintiff, included
                     Paraquat in its products when adequate substitutes (or safer formulations)
                     were available;

                  d. Intentionally or with a reckless disregard for the safety of Plaintiff, failed to
                     provide any or adequate warnings to persons working with or likely to be
                     exposed to Paraquat of the dangers of inhaling, ingesting, absorbing or
                     otherwise being exposed to Paraquat;

                  e. Intentionally or with reckless disregard for the safety of Plaintiff, failed to
                     provide any or adequate instructions concerning the safe methods of working
                     with and around Paraquat, including specific instructions on how to avoid
                     inhaling, ingesting or otherwise absorbing Paraquat; and

                  f. Intentionally or with a reckless disregard for the safety of Plaintiff, failed to
                     conduct tests on Paraquat products manufactured, sold or delivered by the
                     Defendants in order to determine the hazards to which workers/farm owners
                     such as Plaintiff might be exposed while working with Paraquat products.

        292.     As a direct and proximate result of the breaches of the implied warranty of

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merchantability by Defendants, Plaintiff developed Parkinson’s disease, and suffered severe and

personal injuries and death, physical pain and mental anguish, including diminished enjoyment of

life, and financial expenses for hospitalization, medical care, and death.

        293.     WHEREFORE, Plaintiff, Sheryl Campbell, individually, and as Personal

Representative of the Estate of Martha Derrick, respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

                             COUNT VII – PUNITIVE DAMAGES

        294.     Plaintiff incorporates by reference all of the above-stated paragraphs as though

fully set forth therein.

        295.     Defendants’ conduct as alleged herein was done with oppression, fraud, and

malice. Defendants were fully aware of the safety risks of Paraquat. Nonetheless, Defendants

deliberately crafted their label, marketing and promotion of Paraquat to mislead farmers,

consumers and others who were foreseeably likely to be exposed to Paraquat.

        296.     This was not done by accident or through typical negligence. Rather, Defendants

knew that they could turn a profit by convincing the agricultural industry that Paraquat did not

cause Parkinson’s Disease, and that full disclosure of the true risks of Paraquat would limit the

amount of money Defendants would make in selling Paraquat in Wisconsin. Defendants’ objective

was accomplished not only through its misleading labeling, but through a comprehensive scheme

of selective fraudulent research and testing, misleading advertising, and deceptive omissions as

more fully alleged herein. Plaintiff was denied the right to make an informed decision about

whether to purchase, use, or be exposed to an herbicide/pesticide knowing the full risks attendant

to that use. Such conduct was done with conscious disregard of Plaintiff’s rights and through the



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willful and wanton conduct of Defendants.

        297.     There is no indication that Defendants will stop their deceptive and unlawful

marketing practices unless they are punished and deterred. Accordingly, Plaintiff requests punitive

damages against Defendants for the harms caused to Plaintiff.

        298.     WHEREFORE, Plaintiff, Sheryl Campbell, individually, and as Personal

Representative of the Estate of Martha Derrick, respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

                             COUNT VIII—WRONGFUL DEATH

        299.       Plaintiff incorporates by reference all of the above-stated paragraphs as though

fully set forth therein.

        300.       As a direct and proximate result of the acts and/or omissions of Defendants, as

set forth herein, Decedent Martha Derrick used and/or was exposed to Paraquat products.

        301.       Subsequent to each use, Decedent Martha Derrick developed Parkinson’s

Disease, suffered substantial pain and suffering, both physical and emotional in nature, and

subsequently died.

        302.       Plaintiff Sheryl Campbell, on behalf of herself and all of the next of kin of

Decedent Martha Derrick, is entitled to recover damages as Decedent would have if he were living,

as a result of the acts and/or omissions of Defendants.

        303.      Plaintiff Sheryl Campbell, on behalf of herself and all of the next of kin of

Decedent Martha Derrick, is entitled to recover punitive damages and damages for substantial pain

and suffering caused to Decedent, as a result of the acts and/or omissions of Defendant as fully set

forth herein, including without limitations, punitive damages.



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        304.        As a direct and proximate result of Defendant’s conduct, Plaintiff Sheryl

Campbell and Decedent Martha Derrick have been injured and sustained severe and permanent

pain, suffering, disability, impairment, loss of enjoyment of life, loss of care and comfort, and

economic damages.

        305.        WHEREFORE, Plaintiff, Sheryl Campbell, individually, and as Personal

Representative of the Estate of Martha Derrick, respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

                                     COUNT IX—SURVIVAL

        306.      Plaintiff incorporates by reference all of the above-stated paragraphs as though

fully set forth therein.

        307.        Plaintiff Sheryl Campbell, as Personal Representative of the Estate of Martha

Derrick, on behalf of herself and all of the next of kin of Decedent Martha Derrick, is entitled to

recover damages as Decedent would have if he were living, as a result of the acts and/or omissions

of Defendants.

        308.        The death of Decedent Martha Derrick was directly and proximately caused as

the result of Defendants’ wrongful acts, negligence, failure to warn and/or breach of warranties as

described herein.

        309.        If Decedent Martha Derrick was not deceased, Defendants’ wrongful acts,

negligence, failure to warn, and/or breach of warranties would have entitled Decedent to maintain

an action in Decedent’s own right to recover damages and other relief.

        310.        As a direct and proximate result of the acts and/or omissions of Defendants, as

set forth herein, Decedent Martha Derrick used and/or was exposed to Paraquat products.



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       311.       Subsequent to each use, Decedent Martha Derrick developed Parkinson’s

Disease, suffered substantial pain and suffering, both physical and emotional in nature, and

subsequently died.

       312.       As a direct and proximate result of Defendant’s conduct, Plaintiff Sheryl

Campbell and Decedent Martha Derrick have been injured and sustained severe and permanent

pain, suffering, disability, impairment, loss of enjoyment of life, loss of care and comfort, and

economic damages.

       313.       WHEREFORE, Plaintiff, Sheryl Campbell, individually, and as Personal

Representative of the Estate of Martha Derrick, respectfully requests that this Court enter judgment

in Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper.

                              COUNT X—LOSS OF CONSORTIUM

       314.       Plaintiff Sheryl Campbell hereby refers to, incorporates, and re-alleges by this

reference as though set forth in full, each and every allegation hereinabove and makes them a part

of the following allegations.

       315.      At all times herein mentioned, Plaintiff Sheryl Campbell was the daughter of

Decedent Martha Derrick.

       316.          As a direct, legal, and proximate result of the culpability and fault of defendants,

and each of them, Plaintiff Sheryl Campbell suffered the loss of her mother’s support, service,

love, companionship, affection, society, and other elements of consortium, all to general damages

in an amount in excess of the jurisdictional minimum of this Court.

       317.       WHEREFORE, Plaintiff, Sheryl Campbell, individually, and as Personal

Representative of the Estate of Martha Derrick, respectfully requests that this Court enter judgment



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in Plaintiff’s favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all relief as this Court deems just and proper

                                 DEMAND FOR JURY TRIAL

   Plaintiff hereby demands trial by jury as to all issues.

                                      PRAYER FOR RELIEF

   WHEREFORE, Plaintiff requests this Court to enter judgment in Plaintiff’s favor and against

the Defendants for:

   a. actual or compensatory damages in such amount to be determined at trial and as provided

by applicable law;

   b. exemplary and punitive damages sufficient to punish and deter the Defendants and others

from future fraudulent practices;

   c. pre-judgment and post-judgment interest;

   d. costs including reasonable attorneys’ fees, court costs, and other litigation expenses; and

   e. any other relief the Court may deem just and proper.

 Dated this 21st day of June, 2022.           Respectfully submitted,

                                              SHRADER & ASSOCIATES, LLP

                                              /s/A. Layne Stackhouse_____________________
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